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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as the personal representative of the         CASE NO.: 9:18-cv-80176-BB/BR
   Estate of David Kleiman, and W&K Info Defense
   Research, LLC

                  Plaintiffs,

   v.

   CRAIG WRIGHT,

                  Defendant.


                                 NOTICE OF CHANGE OF FIRM

         To the Clerk of Court and all parties of record:

         Plaintiffs Ira Kleiman and W&K Info Defense Research, LLC hereby notify the Court and

  all parties of records, that Kyle Roche, who is admitted court pro hac vice for this case before this

  Court, is now associated with Roche Freedman LLP. Mr. Roche has switched firms but will remain

  counsel in this litigation. Mr. Roche’s updated contact information is as follows:

         Kyle Roche
         Roche Freedman LLP
         185 Wythe Ave F2,
         Brooklyn, NY 11249
         Tel. 716-348-6003
         kyle@rochefreedman.com

  Dated: August 6, 2019                                 Respectfully submitted,

                                                        /s/ Velvel (Devin) Freedman
                                                        Velvel (Devin) Freedman
                                                        Roche Freedman LLP
                                                        200 South Biscayne Blvd.
                                                        Suite 5500
                                                        Miami, Florida 33131
                                                        Tel. 305-357-3861
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                                                     Kyle Roche
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                                                     Brooklyn, NY 11249
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                                                     kyle@rochefreedman.com

                                                     Counsel to Plaintiffs Ira Kleiman as
                                                     Personal Representative of the Estate of
                                                     David Kleiman and W&K Info Defense
                                                     Research, LLC.


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 6, 2019, a true and correct copy of the foregoing was

  filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                     /s/ Velvel (Devin) Freedman
                                                     Velvel (Devin) Freedman




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